Dear Director Clark,
The Attorney General is in receipt of your request for an opinion wherein you ask, the following questions:
1. Can a Multi-County Library System organized under Title 65 O.S.4-101 (1971), make a down payment on a library building and borrowthe balance from a financial institution and make regular paymentsuntil the mortgage is paid?
 2. If a Multi-County Library enters into a lease purchase agreement,can it make a substantial down payment and individually start makingpayments on the lease and lease the building over a length of time andthen pay a stipulated sum and become owners of the buildings?
The establishment of a Multi-County Library or Public Library System is authorized by the provisions of 65 O.S. 4-101 (1971) which states in part as follows:
65 O.S. 4-101 Authority for Establishment
  "Counties, cities and towns are hereby authorized and empowered to join in the creation, development, operation and maintenance of public library systems to serve Multi-County districts, and to appropriate and allocate funds for the support of such systems . . .
  "Special levies of any and all taxes authorized to be levied by counties, cities and towns under this and other Oklahoma statutes as amended and the Oklahoma Constitution as amended are hereby authorized to be levied for support of library systems."
The Public Libraries Act also provides the Board of Trustees of each respective library system shall have the power to "purchase, lease or otherwise acquire land or buildings or portions of buildings for library purposes". See 65 O.S. 4-105 (1971). However, the authority of such public library systems to incur indebtedness is limited by the provisions of Article X, Section 26 of the Oklahoma Constitution which reads as follows:
  Article X, Section 26 Indebtedness of Political Subdivisions-Voters — Limitation of Amount-Annual Tax.
  "except as herein otherwise provided, no county, city, town, township, school district, or other political corporation or subdivision of the State, shall be allowed to become indebted, in any manner, or for any purpose, to an amount exceeding, in any year, the income and revenue provided for such year without the essence of three-fifths of the voters thereof, voting at an election, to be held for that purpose, . . ."
By statute, public library systems are made up of counties, entities and towns and therefore fall within the above constitutional provision and are subject to all applicable provisions contained therein. Both questions you have posed in your request for an Attorney General's Opinion appear to contemplate the occurrence of an indebtedness by the respective Multi-County Library System in excess of its appropriations during any current year. As such, both questions must therefore be answered in the negative.
It is, therefore, the opinion of the Attorney General that Multi-CountyLibraries may not become indebted, in any manner, or for any purpose, toan amount exceeding, in any year, the income and revenue provided forsuch year without complying with the remaining provisions of Article X,Section 26, of the Oklahoma Constitution.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHNNY J. AKINS, ASSISTANT ATTORNEY GENERAL